UNITED STATES DfSTRICT COURT
EASTERN DISTRICT OF NEW YORK
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GOVERNMENT EMPLOYEES INSURANCE
COMPANY, GEICO INDEMNITY COMPANY,
GEICO GENERAL INSURANCE COMPANY and                                              Docket No.:
GEICO CASUALTY COMPANY,                                                          I: I 9-cv-05158(KAM)(SMG)

                                    Plaintiffs,

                    -against-

TREMONT DIAGNOSTIC IMAGING, P.C. d/b/a
BRONX IMAGING NYC, CHARLES J. DEMARCO,
M.D., AAA MANAGEMENT NYC LLC, ALBERT
FOOZAILOV, JOSEPH STERN and JOHN DOE
DEFENDANTS 1-10,

                                     Defendants.
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                                           SO-ORDERED STIPULATION

IT IS HEREBY STIPULATED AND AGREED by and among counsd for Plaintiffs

Government Employees Insurance Company, GEICO lndenu1ity Company, GEICO General

Insurance Company, and GEICO Casualty Company (collectively, "GEICO" or "Plaintiffs") and

counsel for Defendants, Tremont Diagnostic Imaging, P.C. d/b/a Bronx Imaging NYC, Charles J.

DeMarco, M.D., AAA Management, Inc., Joseph Stern and Albert Foozailov (collectively,

"Defendants") as follows:

          I.        Tremont Diagnostic ]maging, P.C. d/b/a Bronx Imaging NYC, Charles J.

DcMarco, M.D. hereby appear in this action through their counsel, Zimmcrnrnn Law, P.C. and

consent to the Court's jurisdiction over them.

          2.        AAA Management, Inc., Joseph Stern and Albert Foozailov hereby appear in this

action through their counsel, Kutner Friedrich, LLP, and consent to the Court's jurisdiction over

them.
        3.      Defendants' time to answer, move or otherwise respond to the Plaintiffs'

Complaint in this mauer is extended through and including December 20, 2019.

        4.      Pending the conclusion of this action, Defendants will: (i) not commence and/or

prosecute, or cause to be commenced or prosecuted, any collection proceedings against GEICO

seeking payment for no-fault benefits either through courr proceedings or arbitration, for services

provided to GEICO Insureds; (ii) slay and not continue lo prosecute any pending court or

arbitration collection proceedings brought against GEICO seeking payment for no-fault benefits

for services provided to GEi CO Insureds, regardless of when filed; and (iii) not submit any new

bills to GEICO seeking payment for no-fault benefits for services provided to GEICO Insureds.

        5.      For purposes of this stipulation, facsimile or electronic signatures shall be treated

as originals.

Dated: November 18, 201q

RIVKIN RADLER LLP                                     ZIMMERMAN LAW, P.C.


                                                      By:

                                                             Micl.i'fl Zim rman, Esq.
                                                      315 Walt Whitman Road - Suite 215
                                                      Huntington Station, New York l 1746
Counsel/or laintij}\ Oover11me11t Employees
insurance C mpany, GEICO Indemnity                    Counsel.for D~fendants, Tremont Diagnostic
Company, G ~'!CO General Insurance C 1pany,           Imaging, P. C. dlbla Bron,,, Imaging NYC and
and G.EJCO Casualty Company                           Charles J. De!viarco, M.D.




By:
           mrle Kutner, Esq.
950 Third A venue - 11th Floor
New York, New York 10022

Counsel.for Defendants, AAA /vianagement, Inc.,
Joseph Stem and Albert Foozailov

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   SO ORDERED:

S/ Steven M. Gold, U.S.M.J.


   _ _ _November
        _ _ _ _26_ , 2019




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